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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

             Plaintiff,

             v.                                                       Case No. 19-20052-JAR

FENG TAO,

             Defendants.


                               NOTICE OF UNSEALING AND ORDER

       The Court filed today’s Memorandum and Order ruling on the Government’s motion for

Fed. R. Crim. P. 15 depositions under seal given its references to medical information provided

in documents filed under seal. This status is temporary until the Court can determine the extent

to which its order should be redacted, if at all. Federal courts “recognize a general right to

inspect and copy public records and documents, including judicial records and documents.”1

The Court, however, does have “discretionary power to control and seal, if necessary, records

and files in its possession.”2 “In exercising this discretion, [the court] weigh[s] the interests of

the public, which are presumptively paramount, against those advanced by the parties.”3 “The

party seeking to overcome the presumption bears the burden of showing some significant interest

that outweighs the presumption.”4

       Consistent with these standards, the Court adopts the following procedure:




       1
           Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978).
       2
           Crystal Grower’s Corp. v. Dobbins, 616 F.2d 458, 461 (10th Cir. 1980).
       3
           Id.; United States v. Apperson, 642 F. App’x 892, 899 (10th Cir. 2016).
       4
           Mann v. Boatright, 477 F.3d 1140, 1149 (10th Cir. 2007).
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(1)   The parties shall forthwith meet and confer to determine whether any part of the

      Court’s Memorandum and Order should be redacted under the standards set forth

      above.

(2)   By no later than March 21, 2022, the parties shall jointly file a motion for leave to

      file a redacted version of the Court’s Memorandum and Order, explaining why

      the proposed redactions are necessary, and attaching a proposed redacted version

      for the Court’s review. The parties also shall email a copy of the proposed order

      to ksd_robinson_chambers@ksd.uscourts.gov.

(3)   After reviewing the parties’ motion and proposed order, the Court will rule on the

      request. If the parties do not file a motion for leave to seal as set forth above on

      or before March 21, 2022, the Court will unseal the entire Memorandum and

      Order.

IT IS SO ORDERED.

Dated: March 9, 2022

                                            S/ Julie A. Robinson
                                            JULIE A. ROBINSON
                                            UNITED STATES DISTRICT JUDGE




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